                                                                                MOTION GRANTED

                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       NO. 3:13-cr-00090
                                                      )
MERCEDES MARDALI GARCIA-LINDO                         )       JUDGE SHARP
                                                      )


                          GOVERNMENT’S UNOPPOSED MOTION
                         TO SUPPLEMENT RELEASE CONDITIONS

       At sentencing, the Court granted defendant release pending her surrender to serve the

sentence imposed in this matter, subject to all prior conditions; and in addition that she be subject

to home detention, except for approved necessities. To aid in confirming defendant’s

compliance regarding home detention, probation has requested that defendant be subject to

electronic monitoring. Counsel for defendant has advised that there is no objection to this

request.

       The government therefore respectfully requests that the Court order as a supplemental

condition of defendant’s release pending her surrender for execution of sentence, that she be

subject to electronic monitoring by probation.


                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      United States Attorney

                                                      S/Hilliard H. Hester
                                                      HILLIARD H. HESTER
                                                      Assistant United States Attorney
                                                      110 Ninth Avenue South, Suite A-961
                                                      Nashville, Tennessee 37203-3870
                                                      Telephone: (615) 736-5151


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